                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               EASTERN DIVISION
                      CIVIL ACTION NO.: 4:24-CV-00046-BO-BM

 NORTH CAROLINA FARM BUREAU                      )
 MUTUAL INSURANCE COMPANY,                       )
 INC., as subrogee of B. D. Potter Farms,        )
 Inc.,                                           )
                                                 )
                         Plaintiff,              )   STIPULATED PROTECTIVE ORDER
                                                 )
         v.                                      )
                                                 )
 DEERE & COMPANY, INC.,                          )
                                                 )
                         Defendant.

       THIS Stipulated Protective Order is made by and among Plaintiff, North Carolina Farm

Bureau Mutual Insurance Company, Inc., as subrogee of its insured, B.D. Potter Farms, Inc., and

Defendant, Deere & Company (sued as "Deere & Company, Inc., hereinafter " Deere"),

collectively ("the parties").

        WHEREAS, the parties are in need of discovery in this action in order to prosecute and

defend the claims made herein; and

        WHEREAS, the parties seek to prevent undue or unwarranted disclosure of confidential

personal, commercial, financia l, proprietary, copyrighted, trademarked, patented, trade secret and

design information and/or materials which may be divulged pursuant to discovery in this action;

and

        WHEREAS, the parties hereto desire to facilitate discovery and maintain the

confidentiality of such information.

        NOW, THEREFORE, in consideration of the mutual promises herein and pursuant to the

Federal Rules of Civil Procedure, the parties agree as fo llows:




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        1.        Any party may designate and visibly mark as "CONFIDENTIAL" any document,

material, or information or group of documents, materials, or information which it in good faith

believes contain confidential personal, commercial, financial, proprietary, copyrighted,

trademarked, patented, trade secret and/or design information, or any other documents, discovery

and answers for which a party chooses to assert confidentiality (the "Protected Information"), and

produce such Protected Information without waiving any applicable privilege or ground for

objection. Such designation constitutes a representation by the party that it has a reasonable basis

to believe that the Protected Information so designated is, in fact, confidential information

appropriate for protection as confidential and that it is entitled to that protection.

        2.        The   parties   shall   not   disclose   Protected    Information      designated   as

"CONFIDENTIAL" except in compliance with the provisions herein and as follows:

             a. To the requesting party and the party 's attorneys, employees, and staff;

             b. To the officers, directors, and employees of the requesting party (including in-house
                counsel) to whom disclosure is reasonably necessary for this litigation;

             c. To experts or consultants retained or employed by the requesting party in
                connection with this action, but on ly to the extent deemed by their counsel to be
                necessary for the proper representation of their clients in this action;

             d. To court reporters and their staff, professional jury or trial consultants, mock jurors,
                and other professional vendors to whom disclosure is reasonably necessary for this
                litigation;

             e. To witnesses for deposition or trial or in preparation for deposition or trial if counsel
                has a good faith basis to believe the witness has knowledge of the subject matter of
                the Protected Information; such witnesses shall not be sent copies of confidential
                documents or information, nor may they retain such copies; and

             f.   To the Court and its personnel;

             g. To other persons as may be designated by written stipulation of counsel for the
                designating party; and

             h. By specific order of the Court.




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         3.      Unless otherwise permitted by this Protective Order, all Protected Information

designated as "CONFIDENTIAL": (a) shall not be disclosed or used for any purpose other than

for prosecuting, defending, or attempting to settle this litigation; (b) shall not be disclosed to or

used by any third party, unless there is an order of this Court to the contrary; and (c) shall not be

filed with the Court, as an exhibit, as part of a deposition transcript, pleading, motion,

memorandum, or otherwise, unless such matter is fi led under seal in the manner described in

paragraph 8 of this Protective Order (and in accordance with any applicable Case Management

Order issued by the presidi ng judge).

         4.      Each    person   given   access   to   Protected    Information    designated     as

"CONFIDENTIAL" or information derived therefrom shall be advised that such material and/or

information is being disclosed pursuant and subject to the terms of this Protective Order and may

not be disclosed other than pursuant to the terms hereof. In the event any party wishes to disclose

any Protected Information, or provide copies of any document(s) or transcript(s), designated as

"CONFIDENTIAL" to an outside expert, consultant, or witness as permitted by this Protective

Order, the outside expert, consultant, or witness to whom such Protected Information is to be

provided shall be required to sign, prior to receiving the Protected Information, an agreement in

the form attached hereto as Exhibit "A," which agreement shall be retained by counsel for the party

disclosing the Protected Information.

         5.      When oral information is given at a deposition and when a party's counsel deems

that the answer to a question will result in the disclosure of Protected Information as described

above:

              a. Any party's counsel may state on the record that the documents referred to
                 or the testimony elicited constitutes Protected Information and that the
                 transcript of that portion of the deposition should be filed in the manner
                 prescribed below.




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            b. Any party's counsel may request that all persons, other than the court
               reporter, videographer, counsel for the parties, a representative of each
               party, and the witness, leave the room during the confidential portion of the
               deposition. The failure of such other persons to comply with a request of
               this type shall constitute substantial justification for the party's counsel to
               advise the witness not to answer a question seeking revelation of Protected
               Information.

            c. Any party' s counsel may also designate any portion of a deposition
               transcript as CONFIDENTIAL. Such designation shall be made within
               twenty-one (21) days after receipt of the transcript. All information
               contained in the transcript shall be deemed Protected Information until the
               expiration of this twenty-one (21) day period.

       6.      If the requesting party objects in writing to the designation of any document,

information, or portion of a deposition transcript as "CONFIDENTIAL" by a designating party,

that requesting party shall, after conferring with the designating party's counsel to resolve the

dispute, have the burden of filing a motion with the Court for a determination as to whether such

material is "CONFIDENTIAL" within thirty (30) days following service of the document or

information bearing the disputed designation, if it elects to at all. Any such motion must be made

such that the Court may consider the motion no later than the Pre-trial Conference.

       7.       Pursuant to and consistent with Federal Rules of Evidence 502(d), if Protected

Documents or any other document or information subject to a claim of attorney-client privilege,

work-product immunity, trade secret protection, or any other relevant privilege or immunity under

relevant case law and rules, production of which should not have been made to any party, is

inadvertently produced to such party, such production shall in no way prejudice or otherwise
                                                                 ,
constitute a waiver of, or estoppel as to, any claim of privilege, work product, trade secret

protection, or any other ground for withholding production to which any party producing the

documents or information would otherwise be entitled. In the event that a party discovers that it

has received either attorney-client privilege or work-product documents, it will bring that fact to




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the attention of the Producing Party immediately upon discovery.           Any such inadvertently

produced materials shall be returned promptly to the Producing Party upon request and all copies

destroyed upon request, and no use thereof shall be made by the party to whom such documents

or information were inadvertently produced, except to the extent necessary to present the issues

concerning privilege to the Court.

       8.      Failure to denominate documents or information as "CONFIDENTIAL" in the

foregoing manner shall not constitute a waiver by any party of the right to designate the document

or information as "CONFIDENTIAL" if the failure is inadvertent. Counsel, upon notification of

the designation, must make timely reasonable efforts to assure the material is treated in accordance

with the provisions of this Protective Order.

       9.        In the event a party seeks to file any material that is subject to protection under

this Order with the court, that party shall take appropriate action to ensure that the documents

receive proper protection from public disclosure including:

  (1) filing a redacted document with the consent of the party who designated the document as

  confidential; (2) where appropriate (e.g. in relation to discovery and evidentiary motions),

 submitting the documents solely for in camera review; or (3) where the preceding measures are

  not adequate, seeking permission to file the document under seal pursuant to the procedure as

  may apply in the relevant jurisdiction. Absent extraordinary circumstances making prior

  consultation impractical or inappropriate, the party seeking to submit the document to the court

  shall first consult with counsel for the party who designated the document as confidential to

  determine if some measure less restrictive than filing the document under seal may serve to

  provide adequate protection. This duty exists irrespective of the duty to consult on the

  underlying motion. Nothing in this Order shall be construed as a prior directive to the Clerk of




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 Court to allow any document to be filed under seal. The parties understand that documents may

 be filed under seal only with the permission of the court after proper motion. In the event any

 third party seeks discovery of the Protected Information designated as "CONFIDENTIAL"

 under this Protective Order from a party hereto (or from an expert or consultant employed by

 such party), the party from whom the discovery is sought shall give prompt notice to the

 designating parties by notifying the parties' counsel in writing in order that the party may have

 an opportunity to intervene in opposition to such discovery.

        I 0.    The terms of this Protective Order are applicable to information produced by a Non-

Party in this action and designated as "CONFIDENTIAL." Such information produced by Non-

Parties in connection with this litigation is protected by the remedies and relief provided by this

Order. Nothing in these provisions prohibits a Non-Party from seeking additional protections.

       11.      Upon the decision in this action becoming final, the action being settled, or, should

a final decision be appealed by any party to this action, upon the completion of all appeals herein,

all Protected Information designated as "CONFIDENTIAL", including all copies, abstracts,

compilations, summaries, memorandums, pleadings, court documents, or transcripts reproducing

or capturing any of the Protected Information, shall be, at the election of the producing party, either

returned to the party producing such Protected Information at the producing party' s expense or
         '
destroyed.     If the producing party elects to have the rece1vmg party destroy the Protected

Information, the receiving party and its counsel shall certify in writing that all Protected

Information has been destroyed.

        12.     Counsel for each party obtaining Protected Information shall maintain and retain

all agreements in the form of Exhibit "A" hereto and, for good cause shown, such counsel shall be




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required to produce such agreements to any other party in the event a reasonable basis exists for

the belief that this Protective Order has been violated.

         13.      In the event anyone shall breach or violate, or threaten to breach or violate, any

terms of this Protective Order, the designating party may immediately apply to obtain injunctive

relief against any such person breaching or violating, or threatening to breach or violate, the terms

of this Protective Order. This Protective Order shall not be construed as an exclusive remedy or

as a waiver of the designating party' s right to seek further redress for a breach of this Protective

Order.

         14.      This Protective Order shall not be construed:

               a. to broaden the permissible scope of discovery in this action;

               b. as a waiver of any party's right to object to the furnishing of discovery;

               c. as an admission by any party that any particular material contains or reflects
                  trade secrets, proprietary or commercial information, or other confidential
                  matter; or

               d. to prejudice any party's right to apply to the Court for a Protective Order.

         15.      Each of the firms and parties named above undertakes to abide by and be bound by

the provisions of this Protective Order and to use due care to see that its provisions are known and

adhered to by those under its supervision or control.




IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.




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                                   SALTZ NALIBOTSKY



Dated:   August 28, 2024           By: Isl Alberts. Nalibotsky
                                       Albert S. Nalibotsky
                                       N.C. State Bar No. 194 78
                                       610 I Carnegie Boulevard, Suite 440
                                       Charlotte, North Carolina 28209
                                       (704) 910-2680
                                       analibotsky@s-nlaw.com

                                       Counsel for Plaintiff

                                   FROST BROWN TODD LLP



Dated:   August 28, 2024           By: Isl Nicholas C. Pappas
                                       Indiana State Bar No. 17164-49
                                       111 Monument Circle, Suite 4500
                                       PO Box 44961
                                       Indianapolis, TN 46244-0961
                                       Telephone: (317) 237-3800
                                       npappas@fbtlaw.com

                                       Frank S. Carson
                                       Ohio State Bar No. 89575
                                       l 0 West Broad Street, Suite 2300
                                       Columbus, OH 43215-3484
                                       Telephone: (614) 559-7233
                                       fcarson@fbtlaw.com

                                       Counsel for Defendant Deere & Company




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                                       ELLIS & WINTERS LLP



Dated:     August 28, 2024             By: Isl Ashley K. Brathwaite
                                           Ashley K. Brathwaite
                                           N.C. State Bar No. 33830
                                           Post Office Box 33550
                                           Raleigh, North Carolina 27636
                                           (919) 865-7000
                                           Ashley.Brathwaite@elliswinters.com

                                           Local Civil Rule 83.1 (d) Counsel for
                                           Defendant Deere & Company




PURSUANT TO STIPULATION, IT IS SO ORDERED,



Dated:    "f " '{   ~J   r                          TERRENCE W. BOYLE
                                                                           4
                                                    UNITED STATES DISTRICT




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                                          EXIDBIT "A"



NAME




ADDRESS



POSITION


        I understand that confidential documents and/or information are being provided and
disclosed to me solely for purposes related to North Carolina Farm Bureau Mutual Insurance
Company, Inc. v. Deere & Company, Case No. 4:24-cv-00046-BO-BM, pending in the United
States District Court for the Eastern District of North Carolina. I have been advised that such
confidential documents and the information contained therein may not be disclosed or used for
any purpose whatsoever other than in connection with my acting as an expert, consultant, or
witness in this case.

        I acknowledge receipt of a copy of the Protective Order between the parties in the above-
referenced case and I agree to its terms. I have been advised that any unauthorized use or disclosure
of such Protected Information may subject me to sanctions by the Court and I submit myself to the
jurisdiction of the above-referenced Court with regard to any dispute regarding my use or
disclosure of such Protected Information. I will return all Protected Information that comes into
my possession to the counsel who provided it to me at the conclusion of this litigation.



                                              Signature:_ _ _ _ _ _ _ _ _ _ _ __

                                              Printed Name:
                                                             ------------
                                              Dated:. _ _ _ _ _ _ _ _ _ _ _ __




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